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                                 Department of Law
                                   Monroe County, New York

                 Cheryl Dinolfo                                       Michael E. Davis
                 County Executive                                     County Attorney

February 15, 2019

Michael Rech
5 Hilltop Drive
North Chili, New York 14514

RE: Rech v. Monroe County et. al.
    17-cv-06418
    Index No. E2017-000931

Dear Mr. Rech:

Enclosed please find Defendants’ Response to the First Set of Interrogatories
and Defendants’ Response to Plaintiff’s Frist Notice to Produce. I am still
attempting to locate some documents which may be responsive and will
provide a supplementary response next week.

Please contact me should you have any questions or concerns. Thank you.


Very truly yours,

Michele Romance Crain

Michele Romance Crain
Senior Deputy County Attorney
Tel. 585.753.1433
Fax. 585.324.1393
mcrain@monroecounty.gov

MRC
ENC.
XC: Magistrate Judge Payson (without attachments)




                    39 West Main Street • Room 307 • Rochester, New York 14614
    (585) 753-1380 • fax: (585) 753-1331 • www.monroecounty.gov • e-mail: law@monroecounty.gov
